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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :     CRIMINAL NO. 1:20-cr-00278-TNM
               v.                             :
                                              :
KEITH BERMAN,                                 :
                                              :
                      Defendant.              :


                    GOVERNMENT’S RESPONSE IN OPPOSITION TO
                       DEFENDANT’S MOTION TO SUPPRESS

       The United States of America, through its undersigned counsel, respectfully submits its

response in opposition to defendant Keith Berman’s motion to suppress (ECF 50 (“Def.’s Mot.”)).

The defendant’s motion is foreclosed by both black letter law and the basic principles of our

constitutional system. It should be denied.

I.     Background

       On October 27, 2020, an FBI special agent, acting in her official capacity as a sworn law

enforcement officer, knocked on the door of defendant Keith Berman’s office in Westlake Village,

California, and identified herself as a special agent. After the defendant welcomed the special

agent into his office, she proceeded to ask him questions about Decision Diagnostics, Corp.

(“DECN”), the publicly traded company for which he serves as the chief executive officer. The

defendant spoke voluntarily and with the express recognition that he would speak without an

attorney. The defendant, in the course of that interview, lied about his actions over the course of

the previous months. The FBI agent surreptitiously recorded the interview using an audio device.

       On December 15, 2020, the grand jury returned an indictment; the defendant, who was

arrested shortly thereafter, received a copy at his initial appearance. The indictment put the
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defendant and his attorneys on notice that he had spoken with law enforcement. ECF 1 at ¶ 53

(“On or about October 27, 2020, BERMAN falsely told federal law enforcement agents that neither

he nor DECN had been involved with the shareholder letters . . . .”). Several weeks later, after the

entry of a protective order, the government provided the defendant with a copy of the audio

recording of the defendant’s interview with the FBI. The government, in its January 29, 2021,

discovery letter to counsel, specifically identified the audio recording of the defendant.

       On November 16, 2021, as part of preparation for an orderly trial, the government provided

the defendant with a draft copy of a transcript of the defendant’s recording. Shortly thereafter, the

defendant informed the government that he intended to move to suppress the recording. At a

pretrial hearing on November 19, 2021, the defendant informed the Court of his intent to file a

suppression motion on the asserted ground that the surreptitious recording violated California state

law. The Court provided its preliminary view that the Supremacy Clause governed the issue, and

the government noted that it is well established that a specific federal statute, in combination with

the Supremacy Clause, serves to preempt the California provision at issue. Nevertheless, the

defendant filed the instant motion on November 29, 2021. 1




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    Whether or not it is a basis to deny the defendant’s motion, it bears noting that, five weeks before
trial, the defendant is moving to suppress an audio recording almost a year after being put on notice
that he had lied to the FBI in October 2020 and ten months after receiving the recording in
discovery. At a hearing on April 27, 2021, this Court set a motions deadline of July 27, 2021.
The defendant had substantial time to move to suppress before that deadline as well as after, and
he provides no good cause for his failure to do so until now. See generally Fed. R. Crim. P.
12(c)(3) (“If a party does not meet the deadline for making a Rule 12(b)(3) motion, the motion is
untimely.”).
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II.    Argument

       A.      The Defendant’s Motion Is Baseless.

       Federal law clearly permits federal law enforcement officers to surreptitiously record

communications. 18 U.S.C. § 2511(2)(c) (“It shall not be unlawful under this chapter for a person

acting under color of law to intercept a wire, oral, or electronic communication, where such person

is a party to the communication or one of the parties to the communication has given prior consent

to such interception.”); see Smith v. DOJ, 251 F.3d 1047, 1050 (D.C. Cir. 2001) (“18 U.S.C.

§ 2511(2)(c) separately authorizes ‘a person acting under color of law to intercept a . . .

communication where such person is a party to the conversation’; . . . the requirements of that

section are automatically met when a law enforcement officer actually participates in the

conversation.”); Bamdad v. DEA, 617 F. App’x 7, 8 (D.C. Cir. 2015) (“[T]he wiretapping statute

expressly allows officers acting under color of law to secretly record their own conversations. See

18 U.S.C. § 2511(2)(c).”). When a federal officer records an individual in a federal investigation

and the question is whether the evidence is admissible in federal court, the provisions of 18 U.S.C.

§ 2510 et seq. apply. That is the end of the matter here.

       The defendant nonetheless argues that California state law applies to a federal law

enforcement agent engaging in investigative activities in a federal criminal case. The argument is

meritless. It flies in the face of centuries of precedent and would create a situation in which

California, or another state with a similar law, could fine and imprison a federal law enforcement

agent who followed federal law in a federal proceeding.

       Article VI, Paragraph 2 of the United States Constitution provides that “the Laws of the

United States . . . shall be the supreme Law of the Land” and preempt any contradictory state laws.

Even where a federal law does not explicitly preempt a state law, a court is permitted to find that
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Congress’s overall statutory scheme serves to preempt a state law. See Gade v. Nat’l Solid Wastes

Mgmt. Assn., 505 U.S. 88, 98 (1992). “[A] state law may not be enforced to the extent that doing

so would frustrate the purpose of a federal law.” Pharm. Care Mgmt. Ass’n v. Wehbi, __ F.4th __,

No. 18-2926, 2021 WL 5355916, at *6 (8th Cir. Nov. 17, 2021).

       Federal courts recognize that the plain meaning of Section 2511(2)(c) is that a law

enforcement officer such as an FBI agent is permitted to record a conversation to which he or she

is a party, notwithstanding the lack of consent of other parties to the conversation. A state law that

purported to prohibit such activity by a federal agent would conflict with the federal provision and

be preempted. See United States v. Sanderson, 298 F. App’x 619, 621 (9th Cir. 2008) (“[The

defendant] argues that the federal agent who recorded the controlled buy did so in violation of state

law.   However, the officer was authorized to record the controlled buy under 18 U.S.C.

§ 2511(2)(c).”); United States v. Goodapple, 958 F.2d 1402, 1410 n.3 (7th Cir. 1992) (“Federal as

well as state agents investigated Goodapple, so 18 U.S.C. § 2511(2)(c), the federal wiretapping

statute, clearly applies. As long as the recorded conversations are admissible under federal law,

they are admissible in federal court, notwithstanding that the recordings might not have been

admissible in state court.”).

       The illogic of the defendant’s position is underscored by the fact that he has alleged no

constitutional violation that would warrant suppression. See Lopez v. United States, 373 U.S. 427,

439 (1963) (no constitutional violation in surreptitious recording of a conversation “in which the

Government’s own agent was a participant and which that agent was fully entitled to disclose”);

United States v. Wahchumwah, 710 F.3d 862, 867 (9th Cir. 2013) (“The Supreme Court has also

determined that a defendant generally has no privacy interest in that which he voluntarily reveals

to a government agent. A government agent may also make an audio recording of a suspect’s
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statements, and those audio recordings, made with the consent of the government agent, do not

require a warrant.”) (internal citation omitted). Title III provides a statutory suppression remedy

for violations of its provisions, 18 U.S.C. § 2515, but the defendant concedes that the government

complied with Title III. See Def.’s Mot. at 5 (“The FBI agents apparently acted in conformity

with Section 2511.”).

        That leaves the defendant to rely solely on the inadmissibility provision of the California

state privacy law that serves as the entire basis of his complaint. See Cal. Penal Code § 632(d)

(“evidence obtained as a result of eavesdropping upon or recording a confidential communication

in violation of this section is not admissible in any judicial, administrative, legislative, or other

proceeding”). But it is well settled that a state legislature cannot dictate the admissibility of

evidence in federal courts.     See Osterhout v. Bd. of Cty. Commissioners of LeFlore Cty.,

Oklahoma, 10 F.4th 978, 997 (10th Cir. 2021) (in action brought in federal court under federal

statute, admissibility of evidence is governed by federal law, not state law); United States v.

Noriega, 676 F.3d 1252, 1263 n.4. (11th Cir. 2012) (“[F]ederal law, not state law, governs the

admissibility of evidence in federal court and complaints that the evidence was obtained in violation

of state law are of no effect.”) (quotation omitted); United States v. Clenney, 631 F.3d 658, 667

(4th Cir. 2011) (states lack power to “attempt to direct federal courts to exclude evidence obtained

in violation of state statutes”). These cases demonstrate not only that the defendant has not

identified a basis for suppression, but also more generally that the defendant’s position simply

cannot be correct as a matter of logic—California privacy law cannot limit a federal agent’s

investigative powers under federal law because there would be no remedy for any alleged violation

in federal court.


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          It is, moreover, a basic principle of statutory construction “that interpretations of a statute

which would produce absurd results are to be avoided if alternative interpretations consistent with

the legislative purpose are available.” Griffin v. Oceanic Contractors, Inc., 458 U.S. 564, 575

(1982). A world in which the defendant’s position prevails would produce innumerable absurd

results. FBI agents would be subject to arrest in California, and other federal law enforcement

officers wearing body cameras would be violating the law in 12 states. This cannot be the right

result.

          The defendant claims that “[e]ven the Department of Justice agrees that federal agents must

abide by state laws that are more protective of privacy than Title III.” Def.’s Mot. at 5; see also

Def.’s Mot. at 7. The document the defendant cites, however, says no such thing; the defendant

misleadingly altered quotes from that document to omit critical language, without indicating that

language was omitted. The Bureau of Justice Assistance (BJA) document the defendant cites

actually says the following, with key words that the defendant deleted in bold and italics:

          The federal wiretap laws preempt all state law to the extent that no state may allow
          access to wire, oral, or electronic communications with less justification than
          required by federal law. Thus the federal laws establish the minimum privacy
          protections for all wire, oral or electronic communications that no state may relax.
          However, states may impose greater requirements upon state investigators and
          private citizens than those required by federal law. For example, some states may
          not authorize state investigation access to certain types of communications.
          Other states may require all parties to a communication to consent to a recording of
          it, where the federal law requires only one-party consent. Individual state law
          should be consulted to determine whether state interception of communications is
          authorized, and if so, what standards should be applied.

https://bja.ojp.gov/program/it/privacy-civil-liberties/authorities/statutes/1284.           The     BJA

document clearly speaks to the question whether state law enforcement officers—not federal law

enforcement officers—may be subject to different requirements than those imposed under Title III.


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       Similarly, the defendant cites (Def.’s Mot. 7-8) a 1968 Senate Report that contains express

language about preemption. These references about preemption, however, refer explicitly to

Sections 2512 and 2520 of Title 18, and not to Section 2511(2)(c), which is at issue here. The

defendant fails to mention this, however, in his motion.

       At bottom, the defendant seeks suppression because he was recorded lying to an FBI agent,

and the recording precludes his ability to impugn the FBI agent’s credibility when she testifies.

See Lopez, 373 U.S. at 439 (“Stripped to its essentials, petitioner’s argument amounts to saying

that he has a constitutional right to rely on possible flaws in the agent’s memory, or to challenge

the agent’s credibility without being beset by corroborating evidence that is not susceptible of

impeachment. For no other argument can justify excluding an accurate version of a conversation

that the agent could testify to from memory.”). Even if the defendant had not been recorded, his

statement would be admissible against him in court, but it would be based on the FBI agent’s

recollection of the events. It is unquestionably better for the ends of justice that the defendant’s

recorded statement—in the defendant’s own words for the jury to interpret and not subject to the

fallibilities of human memory—will be admitted in court. See id. (“The Government did not use

an electronic device to listen in on conversations it could not otherwise have heard. Instead, the

device was used only to obtain the most reliable evidence possible of a conversation in which the

Government’s own agent was a participant and which that agent was fully entitled to disclose.”).

Yet the defendant’s motion presents the FBI’s decision to record his statement, which ultimately

serves to protect both his rights and the law enforcement officer’s reputation, as “unlawful.” 2


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   In that respect, the defendant’s motion ignores the fact that law enforcement has sought to record
interviews to protect criminal defendants and increase accountability, and not for nefarious
purposes. In 2014, the Department of Justice implemented a policy for the FBI and other law
enforcement agencies under the DOJ umbrella, creating a presumption of recording custodial
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        In sum, Section 2511(2)(c) and the Supremacy Clause dictate the outcome here—as courts

have consistently recognized. The defendant cites no authority to the contrary. His eleventh-

hour attempt to exclude important, reliable evidence should be rejected.

        B.       Even Assuming the Recording Violates California Law and California Law Could
                 Require Suppression in Federal Court, Suppression Would Be Inappropriate Here
                 Because the FBI Agent Acted in Good Faith.

        Even if the defendant is correct that California state privacy law restricts conduct of federal

law enforcement officers that complies with federal law, and even if a federal law enforcement

officer’s violation of California state privacy law could result in suppression of evidence in federal

court, suppression would not be warranted here because the FBI special agent acted in good faith

in recording the consensual conversation with the defendant.

        The exclusionary rule is a “‘judicially created remedy”’ that is “designed to deter police

misconduct.” United States v. Leon, 468 U.S. 897, 906, 916 (1984) (citation omitted). The rule

does not apply “where [an] officer’s conduct is objectively reasonable” because suppression

“cannot be expected, and should not be applied, to deter objectively reasonable law enforcement

activity.”    Id. at 919.   Instead, to justify suppression, “police conduct must be sufficiently

deliberate that exclusion can meaningfully deter it, and sufficiently culpable that such deterrence

is worth the price paid by the justice system” for the exclusion of probative evidence. Herring v.

United States, 555 U.S. 135, 144 (2009). “Suppression of evidence [ ] has always been our last

resort, not our first impulse.” Hudson v. Michigan, 547 U.S. 586, 591 (2009).



interviews and encouraging “agents and prosecutors to consider electronic recording in
investigative” circumstances that are non-custodial. The memo by then-Attorney General Eric
Holder noted explicitly that “[r]ecording under this policy may be covert or overt. Covert
recording constitutes consensual monitoring, which is allowed by federal law. See 18 U.S.C.
§ 2511(2)(c).”
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       Here, the FBI special agent acted in good faith, as she reasonably believed that the recording

of her interview of the defendant was consistent with FBI policies and procedures (which are

authorized by the United States Constitution, a clear federal statute, decades of case law applying

that statute, and guidance from the Department of Justice). The defendant has cited no case

suggesting that state law overrides Title III and applies to federal agents investigating violations of

federal law. Accordingly, at the very least, if the agent was wrong, she acted in good faith.




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III.      Conclusion

          The defendant filed an untimely and meritless motion weeks before trial, despite having

been apprised by the government—in open court—that black letter law precluded the relief he

sought.     In that motion, the defendant used misleading alterations to blur the fact that his motion

lacks any basis in law or fact.   The Court should deny the defendant’s motion because it is dilatory

and baseless.



                                               Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I certify that on December 6, 2021, I filed a true and correct copy of the foregoing with the
Clerk of Court via ECF.

                                                     /s/ Vijay Shanker




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